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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA : CRIMINAL NO. 1:23-CR-00110
v.
CORBIN OLIVER GRAY

Defendant.

STATEMENT OF OFFENSE IN SUPPORT OF DEFENDANT'S PLEA OF GUILTY

I. Summary of the Plea Agreement

Defendant Corbin Oliver Gray agrees to admit guilt and enter a plea of guilty to Count Two
of the superseding criminal Information charging them with one count of Threatening to Kidnap
or Injure a Person or Damage His Property, in violation of D.C. Code § 22-1810.

The penalty for Count Two of the Information, Threatening to Kidnap or Injure a Person
or Damage His Property, is:

(A) a maximum sentence of twenty (20) years imprisonment;

(B) a fine not to exceed $50,000;

(C) a term of supervised release of not more than three (3) years to follow any period of

incarceration; and

(D) a special assessment of $100; and

(E) aterm of up to five years of probation.
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II. Elements of the Offenses

The essential elements of the offense of Threatening to Kidnap or Injure a Person or
Damage His Property, in violation of D.C. Code § 22-1810, each of which the Government must
prove beyond a reasonable doubt, are that:

(1) The defendant wrote words in a letter, an email or a social media communication to
another person;

(2) the words the defendant wrote or communication the defendant used would cause a
person to reasonably believe that she or he would suffer bodily harm, or that his or her propert
would be damaged if the threat occurred; and

(3) the defendant wrote the words or made the communication for the purpose of issuing a
threat, or with knowledge that the words or communication would be viewed as a threat. The
government is not required to prove that the defendant intended to carry out the threat.

Ill. Brief Statement of the Facts

Between on or about November 15, 2022, through March 4, 2023, the defendant Corbin
Oliver Gray (hereinafter “the defendant”) was a resident of the state of Maryland. The defendant
is a self-identified autistic individual with multiple social media accounts that espoused anti-
Applied Behavior Analysis (“ABA”) ideology. ABA is a type of one-on-one therapy designed to
change behaviors, which is viewed as controversial by some individuals with autism, family
members of individuals with autism, and experts in the field of autism research. Between on or
about November 15, 2022, through March 4, 2023, the defendant promoted his ideology through
various platforms in which the defendant directed negative rhetoric toward ABA as well as
practitioners of ABA, also called Board Certified Behavior Analysts (BCBA).

On November 15, 2022, the defendant traveled to the District of Columbia from the state

of Maryland to Autism Speaks, located at 1990 K Street NW, Washington, DC 20006. Autism
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Speaks is a non-profit autism awareness organization and the largest autism research organization
in the United States. Autism Speaks sponsors research and conducts awareness and outreach
activities aimed at families, governments, and the public. Autism Speaks promotes solutions such
as ABA therapy for the needs of individuals with autism and their families. Autism Speaks also
employs BCBAs at its Washington, DC and other locations.

Once at the Autism Speaks location, the defendant gained unauthorized access to the
building by deceiving custodial staff. Once inside the building, the defendant filmed various areas
on his cellphone and described on the video how he was able to break in. Prior to leaving, the
defendant left a flyer at the directory of the building, which advocated for the execution of
practitioners of ABA. Specifically, the flyer stated that an ambition of “Autistic Nationalism” is
to ban ABA and imprison or execute all BCBAs worldwide. The defendant posted the video of
his break in at the Autism Speaks location on one of his social media accounts.

Between on or about November 15, 2022, through March 4, 2023, the defendant posted
several other videos to his social media accounts in which he identified himself as an
“Accelerationist” and “Autistic Nationalist.” In one such posting, the defendant claimed that
“Autism Speaks would be surrounded by Autistic people more terrible than the BLM riots and the
Capitol riots combined, and a team of women would burn down the DC location and its leadership
would be executed.” Several employees of the Autism Speaks location in Washington, DC
confirmed that they viewed the defendant’s social media posts.

On November 28, 2022, the defendant entered the Linwood School in Maryland, which is
a school that provides a non-graded special education and related services program for students
with autism with additional residential components. The defendant was denied further entry and
upon exiting, placed flyers on cars parked outside of the school. The flyers appeared to be copies

of the same flyer left at the directory of the Autism Speaks location in Washington, DC. The
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defendant also used a hashtag on his flyers, which led to the identification of his social media
accounts.

On December 1, 2022, the defendant was interviewed by Howard County, Maryland law
enforcement officers regarding the incidents at the Linwood School and Autism Speaks. The
defendant acknowledged that he entered the Linwood School, and that he was one in the video
who entered the Autism Speaks building in Washington, DC. Howard County law enforcement
officers observed clothing in the defendant’s residence that appeared to be the same clothing the
defendant wore in the Autism Speaks break-in video.

On December 8, 2022, law enforcement interviewed the Senior Vice President of
Advocacy for Autism Speaks. The Senior Vice President told law enforcement that fellow staff
members had great concern for their safety based on the defendant’s actions demonstrated in his
break-in video. Several practitioners of ABA therapy at the Autism Speaks facility were also
interviewed by law enforcement, and indicated that they believed the defendant’s threats were
credible, and that his language was violent beyond the pale of simple rhetoric.

On February 28, 2023, the defendant was stopped again at the Autism Speaks location at
1990 K St NW. The defendant advised law enforcement that he was a student at Towson and had
been in the building before. The defendant identified himself as Corbin Oliver Gray of 9265 Maple
Rock Drive, Ellicott City, MD. The defendant was advised he had been barred from the building
and was allowed to leave. The defendant then came back to the officers and asked them why
Autism Speaks was closed.

Law enforcement subsequently interviewed a Howard County College Department of
Public Safety investigator. The investigator advised that the defendant was a student at the college,
and that there had been at least two similar incidents surrounding the defendant and anti-ABA

rhetoric at the campus, with the most recent one taking place on March 4, 2023. According to the
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investigator, the College was concerned about the flyers the defendant placed on cars in the parking
lot because of the verbiage used by the defendant that they believed was violent in nature.

On March 31, 2023, law enforcement conducted an interview with the defendant following
his arrest in this case. During the course of the interview, the defendant admitted breaking into
Autism Speaks and creating the flyer that was posted at the building’s directory. The defendant
also admitted that his words and actions could have been perceived as a threat.

Limited Nature of Proffer

This proffer of evidence is not intended to constitute a complete statement of all facts
known by the government, but rather is a minimum statement of facts intended to provide the
necessary factual predicate for the guilty plea. The limited purpose of this proffer is to demonstrate

that there exists a sufficient legal basis for the defendant’s plea of guilty to the charged offenses.

By: /s/
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Defendant’s Acceptance

| have read each of the pages that constitute the government’s proffer of evidence and have
discussed it with my attorney, Mary Petras, Esquire. I fully understand this proffer and agree to it
without reservation. I do this voluntarily and of my own free will, intending to be legal bound.
No threats have been made to me nor am | under the influence of anything that could impede my
ability to understand this agreement fully.

I reaffirm that absolutely no promises, agreements, understandings, or conditions have
been made or entered into in connection with my decision to plead guilty except those as set forth
in my plea agreement.

I am satisfied with the legal services provided by my attorney in connection with this
proffer and my plea agreement and matters related to it.

/ j fo f
Date: #/ \ZLeyt \ bi C2 Bx fay

° Corbin Oliver ¢ Gray
Defendant

Attorney’s Acknowledgment
I have read each of the pages that constitute the government’s Proffer of Evidence,
reviewed them with my client, Corbin Oliver Gray, and discussed the provisions of the proffer

with them fully. These pages accurately and completely set forth the government’s proof, as I

understand it.

Date: [rt Co uy Sn A hl

Mary Petras, Esquire
Attorneys for the Defendant

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